Case 2:22-cv-03941-ES-JBC Document 19-11 Filed 07/22/22 Page 1 of 1 PageID: 502




 UNITED STATES DISTRICT COURT FOR THE
 DISTRICT OF NEW JERSEY
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                                                       :
 LEGAL BAY LLC,                                        :
                                                       :
                              Plaintiff,               : Case No. 2:22-cv-03941-ES-JBC
                                                       :
                  - against -                          : Removed from the Superior Court
                                                       : of the State of New Jersey, Essex
 MUSTANG FUNDING, LLC, MUSTANG : County – Chancery Division,
 SPECIALTY FUNDING I, LLC,                             : Docket No. (ESX-C-000086-22)
 MUSTANG SPECIALTY FUNDING II, :
 LLC, JAMES BELTZ, and KEVIN                           : [PROPOSED] ORDER
 CAVANAUGH,                                            :
                                                       :
                                Defendants.            :
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 ESTER SALAS, U.S.D.J.

        For the reasons set forth in the accompanying Opinion, and for good cause

 shown, IT IS on this __ day of ______, 2022,

        ORDERED that Defendants’ Motion to Dismiss the Complaint is

 GRANTED; and

        IT IS FURTHER ORDERED that all of Plaintiff’s claims are dismissed

 with prejudice.


 DATED: _______________

                                                  HON. ESTER SALAS, U.S.D.J.
